






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00230-CR







Timothy Andrew Price, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT


NO. 13172, HONORABLE REVA TOWSLEE CORBETT, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant Timothy Andrew Price pleaded guilty before a jury to intoxication assault. 
See Tex. Penal Code Ann. § 49.07(a)(1) (West Supp. 2009).  After receiving evidence, the jury
assessed appellant's punishment at eight years' imprisonment.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
record&nbsp;demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief. 
See&nbsp;Anders, 386 U.S. at 744.  No pro se brief has been filed.

We have reviewed the record and find no reversible error.  See Garner v. State,
No.&nbsp;PD-0904-07, 2009 Tex. Crim. App. LEXIS 1739, at *8 (Tex. Crim. App. Dec. 9, 2009); Bledsoe
v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).  We agree with counsel that the appeal
is frivolous.  Counsel's motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   February 2, 2010

Do Not Publish

 

		


